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EXHIBIT 4
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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS

SAN ANTONIO DIVISION
MELISSA GALE, §
Plaintiff, :
§
v. § Civil Action No. 5:22-cv-01329-XR
MISSION HOSPICE OF SAN ANTONIO, :
LLC,
§
Defendant. §

 

FINAL JUDGMENT

 

After considering Plaintiff's Motion for Default Judgment against Defendant Mission
Hospice of San Antonio, LLC as well as the affidavits and other evidence on file, the Court FINDS
that Defendant Mission Hospice of San Antonio, LLC failed to answer this lawsuit. Based on the
record evidence, the Court further FINDS that Defendant Mission Hospice of San Antonio, LLC
discharged Plaintiff Melissa Gale from employment on July 15, 2022 in violation of 31 U.S.C.
Section 3730(h).

The record supports entry of default judgment pursuant to Federal Rule of Civil Procedure
55(b)(2) as follows:

It is ordered, adjudged, and decreed that Plaintiff Melissa Gale recover from Defendant
Mission Hospice of San Antonio, LLC lost wages in the amount of $56,480.82 for the time period
between July 15, 2022 and March 2, 2023 as well as an equal amount pursuant to 31 U.S.C. Section

3730(h)(2) for a total amount of $112,961.64.
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It is ordered, adjudged, and decreed that Plaintiff Melissa Gale recover from Defendant
Mission Hospice of San Antonio, LLC special damages for mental anguish in the amount of
$50,000.00.

It is further ordered, adjudged, and decreed that Defendant Mission Hospice, L.L.C.
immediately reinstate Plaintiff Melissa Gale to the position of Quality Assurance Manager at the
pay rate of $89,000.00 and with the same seniority that she would have but for her termination
from employment.

Finally, it is ordered, adjudged, and decreed that Melissa Gale recover from Defendant
Mission Hospice of San Antonio, LLC attorney fees in the amount of $6,626.68 and costs of court
in the amount of $497.00.

Post-judgment interest shall accrue on all amounts awarded at the rate of 5.06 percent per
annum until the judgment is paid in full.

This case is ordered closed. This is a final appealable judgment. All relief not granted
herein is denied.

So ORDERED this day of

 

 

United States District Judge

APPROVED AND ENTRY REQUESTED

/s/Michael V. Galo, Jr.
Michael V. Galo, Jr.

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